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                                       No. 16-815C

                                   (Filed: July 22, 2016)

                                            )
ANNAMALAI ANNAMALAI,                        )    Pro Se Complaint; Sua Sponte
                                            )    Dismissal; Frivolous.
                     Plaintiff,             )                                   FILED
v.                                          )
                                            )                                 JUL 2 2 2016
THE UNITED STATES,                          )                               U.S. COURT OF
                                            )                              FEDERAL CLAIMS
                     Defendant.             )
                                            )

Annarnalai Annamalai, Marion, IL, pro se.

David A. Levitt, Trial Attorney, Commercial Litigation Branch, Civil Division, United
States Department of Justice, for defendant.

                                  ORDER OF DISMISSAL

CAMPBELL-SMITH, Chief Judge

        On July 8, 2016, plaintiff, Annamalai Annamalai, filed a complaint in this court
appearing prose. ECF No. 1. Because plaintiff's complaint contained personal
identifiers for himself and a number of other individuals, the Office of the Clerk of Court
designated the complaint to be sealed. Plaintiff asserts a claim against two individuals
whom he identifies as "debtors" in relation to himself as "creditor. " 1 Compl. 1-2.

      Plaintiff, who was prosecuted and found guilty of bank fraud, tax fraud,
bankruptcy fraud, money laundering, obstruction of justice, and conspiracy to defraud the
United States in connection with the formation and operation of the Hindu Temple and
Community Center of Georgia, Inc., is now serving time in the United States Penitentiary
in Marion, Illinois. See United States v. Annamalai, No. 1: 13-CR-437-1 (N.D. Ga. Nov.



       Although plaintiff additionally asserts that both individuals are employees of the
Department of Justice, a search conducted by the court found that the individuals were in
fact employees of the United States Trustee's Office.
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5, 2013); see al o Annamalai v. Reynolds, No. 1:16-CV-1373-TWT (N.D. Ga., July 8,
2016).

        Plaintiff accuses the named defendants of conspiracy, fraud, and of taking trade
secret information pertaining to his former Hindu Temple business. Compl. passim. Over
time, plaintiff has pursued a variety of claims related to this specific Hindu
Temple. Based on a history of making such claims, plaintiff has been declared a
vexatious litigant by the 15 lst Civil Court, Harris County, Texas, and by the United States
District Court for the Northern District of Georgia. See Hindu Temple and Community
Center of High Desert, Inc. v. Kepner, 1:12-CV-294l(SCJ) (N.D. Ga. Mar. 28, 2013)
(ECF No. 111).

       To deter plaintiff from further frivolous filings, the Northern District of Georgia
issued a Judgment and Commitment Order. In pertinent part, it provides:

       The Court ORDERS that during the defendant's period of incarceration, ...
       the defendant shall not file frivolous, abusive, or malicious lawsuits against
       ( l) former customers of the Hindu Temple and related entities, and victims
       of his criminal schemes; (2) parties, creditors, the Trustee, lawyers, and court
       personnel involved in the Hindu Temple's bankruptcy case; and (3)
       attorneys, government agents, the jury, and court personnel involved in the
       criminal case.

United States v. Annamalai, No. 1:13-CR-437-1 (N.D. Ga., July 16, 2015).

         In contravention of the Judgment and Commitment Order, plaintiff has continued
to file lawsuits. He brought several actions this calendar year. See e.g., Annamalai v.
United States, No. 1:16-cv-00816-PEC (Fed. Cl., July 19, 2016) (dismissing as frivolous
and as violative of the district court's Judgment and Commitment Order); Annamalai v.
Rajkumar, No. 16-CV-4491 (CM) (S.D.N.Y., June 15, 2016) (dismissing as frivolous and
as violative of the district court's Judgment and Commitment Order); Annamalai v.
Reynolds, No. 1:16-CV-1373-TWT (N.D. Ga., July 8, 2016) (dismissing claim and
deeming plaintiff a "serial frivolous filer"); Annamalai v. Laird, No. 3: l 6-cv-00524-
DRH, ECF No. 15 (S.D. II., June 10, 2016) (dismissing case and ordering plaintiff to
show cause why he should not be sanctioned for filing a frivolous action).

        An examination of plaintiffs complaint here indicates that again plaintiff has
violated the July 16, 2015 Judgment and Commitment Order, barring claims related to the
former Hindu Temple. Moreover, plaintiffs claims against individual federal actors do not
fall within the court's limited jurisdiction. See Shalhoub v. United States, 75 Fed. Cl. 584,
585 (2007). As such, the court cannot hear plaintiffs complaint.


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      Also attached to plaintiffs complaint is a document labeled as a "Writ of Praecipe."
ECF No. 3. The court construes that document to be an application to appear in forma
pauperis (IFP Application). By filing such a document, plaintiff seeks to proceed without
paying the court's filing fee. Id.

       Although the court is permitted to waive filing fees under certain circumstances, the
court finds that plaintiffs history of filing frivolous, repetitive, and vexatious actions
weighs heavily against granting plaintiffs IFP application. See 28 U.S.C. § 1915(a)(l) and
(e); Neitzke v. Williams, 490 U.S. 319, 325 (1989) (defining when an action lacks an
arguable basis in law or fact). Furthermore, a prisoner who brings suit in a federal court is
subject to a limitation on proceeding in forma pauperis - a limitation commonly known as
the "three strikes rule."

       In no event shall a prisoner bring a civil action or appeal a judgment in a civil
       action or proceeding under this section ifthe prisoner has, on 3 or more prior
       occasions, while incarcerated or detained in any facility, brought an action
       or appeal in a court of the United States that was dismissed on the grounds
       that it is frivolous, malicious, or fails to state a claim upon which relief may
       be granted, unless the prisoner is under imminent danger of serious physical
       mJury.

28 U.S.C. § 1915(g)(2012). 2 Plaintiff has plainly exceeded three strikes.

        The IFP application is DENIED AS MOOT, and plaintiffs complaint
is DISMISSED as frivolous and as violative of the July 16, 2015 Judgment and
Commitment Order issued by the Northern District of Georgia. The Clerk of Court shall
enter judgment for defendant. No costs.

       IT IS SO ORDERED.



                                            ATRICIA E. CAMPBE
                                           Chief Judge




      A prisoner is defined as "any person incarcerated ... in any facility who is ...
convicted of, [and] sentenced for ... violations of criminal law." 28 U.S.C. § 1915(h).

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